








				
















In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-09-00738-CR

____________


JOSE SANTOS LOPEZ, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 178th District Court 

Harris County, Texas

Trial Court Cause No. 1129025






MEMORANDUM  OPINION

	We lack jurisdiction to hear this appeal.  Appellant, Jose Santos Lopez, pleaded
no contest to the offense of aggravated sexual assault.  In accordance with his plea
bargain agreement with the State, the trial court sentenced appellant to confinement
for 5 years.  Along with the plea, appellant, appellant's counsel, and the State signed
a stipulation of evidence which included, among others, the following statements: "I
intend to enter a plea of no contest and understand that the prosecutor will
recommend that my punishment should be set at 5 years TDC; I agree to that
recommendation . . . Further, I waive my right of appeal which I may have should the
court accept the foregoing plea bargain agreement between myself and the
prosecutor."  The trial court's judgment is stamped, "Appeal waived.  No permission
to appeal granted."  

	 After the trial court sentenced appellant to punishment that fell within the
terms of the plea bargain agreement, the trial court certified that this case is a plea-
bargain case and the defendant has no right to appeal.  Appellant did not request the
trial court's permission to appeal any pre-trial matters, and the trial court did  not give 
permission for appellant to appeal.   Appellant filed a timely notice of appeal.  This
appeal followed.

	We conclude that the certification of the right of appeal filed by the trial court
is supported by the record and that appellant has no right of appeal due to the agreed
plea bargain.  Tex. R. App. P. 25.2(a).  Because appellant has no right of appeal, we 
must dismiss this appeal "without further action." Chavez v. State, 183 S.W.3d 675,
680 (Tex. Crim. App. 2006).	Accordingly, the appeal is dismissed for lack of jurisdiction.

	Any pending motions are denied as moot.

PER CURIAM

Panel consists of Justices Keyes, Alcala and Hanks.

Do not publish. Tex. R. App. P. 47.2(b).


